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 9
10                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
11
12
        Brian Whitaker,                           Case No.
13
                  Plaintiff,
14                                                Complaint For Damages And
          v.                                      Injunctive Relief For Violations
15                                                Of: American’s With Disabilities
        Tesla Motors, Inc., a Delaware            Act; Unruh Civil Rights Act
16      Corporation; and Does 1-10,
17                Defendants.
18
19          Plaintiff Brian Whitaker complains of Tesla Motors, Inc., a Delaware
20    Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
21
22
23
        PARTIES:

24
        1. Plaintiff is a California resident with physical disabilities. He is

25
      substantially limited in his ability to walk. He suffers from a C-4 spinal cord

26
      injury. He is a quadriplegic. He uses a wheelchair for mobility.

27
        2. Defendant Tesla Motors, Inc. owned Tesla located at or about 14006

28
      Riverside Drive, Sherman Oaks, California, in July 2019.



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 1      3. Defendant Tesla Motors, Inc. owns Tesla located at or about 14006
 2    Riverside Drive, Sherman Oaks, California, currently.
 3      4. Plaintiff does not know the true names of Defendants, their business
 4    capacities, their ownership connection to the property and business, or their
 5    relative responsibilities in causing the access violations herein complained of,
 6    and alleges a joint venture and common enterprise by all such Defendants.
 7    Plaintiff is informed and believes that each of the Defendants herein,
 8    including Does 1 through 10, inclusive, is responsible in some capacity for the
 9    events herein alleged, or is a necessary party for obtaining appropriate relief.
10    Plaintiff will seek leave to amend when the true names, capacities,
11    connections, and responsibilities of the Defendants and Does 1 through 10,
12    inclusive, are ascertained.
13
14      JURISDICTION & VENUE:
15      5. The Court has subject matter jurisdiction over the action pursuant to 28
16    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
17    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
18      6. Pursuant to supplemental jurisdiction, an attendant and related cause
19    of action, arising from the same nucleus of operative facts and arising out of
20    the same transactions, is also brought under California’s Unruh Civil Rights
21    Act, which act expressly incorporates the Americans with Disabilities Act.
22      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
23    founded on the fact that the real property which is the subject of this action is
24    located in this district and that Plaintiff's cause of action arose in this district.
25
26      FACTUAL ALLEGATIONS:
27      8. Plaintiff went to Tesla in July 2019 with the intention to avail himself of
28    its goods and services, motivated in part to determine if the defendants comply


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 1    with the disability access laws.
 2      9. Tesla is a facility open to the public, a place of public accommodation,
 3    and a business establishment.
 4      10. Service counters are one of the facilities, privileges, and advantages
 5    offered by Defendants to patrons of Tesla.
 6      11. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7    to provide accessible service counters.
 8      12. Currently, the defendants fail to provide accessible service counters.
 9      13. Plaintiff personally encountered this barrier.
10      14. By failing to provide accessible facilities, the defendants denied the
11    plaintiff full and equal access.
12      15. The failure to provide accessible facilities created difficulty and
13    discomfort for the Plaintiff.
14      16. The defendants have failed to maintain in working and useable
15    conditions those features required to provide ready access to persons with
16    disabilities.
17      17. The barriers identified above are easily removed without much
18    difficulty or expense. They are the types of barriers identified by the
19    Department of Justice as presumably readily achievable to remove and, in fact,
20    these barriers are readily achievable to remove. Moreover, there are numerous
21    alternative accommodations that could be made to provide a greater level of
22    access if complete removal were not achievable.
23      18. Plaintiff will return to Tesla to avail himself of its cars and to determine
24    compliance with the disability access laws once it is represented to him that
25    Tesla and its facilities are accessible. Plaintiff is currently deterred from doing
26    so because of his knowledge of the existing barriers and his uncertainty about
27    the existence of yet other barriers on the site. If the barriers are not removed,
28    the plaintiff will face unlawful and discriminatory barriers again.


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 1      19. Given the obvious and blatant nature of the barriers and violations
 2    alleged herein, the plaintiff alleges, on information and belief, that there are
 3    other violations and barriers on the site that relate to his disability. Plaintiff will
 4    amend the complaint, to provide proper notice regarding the scope of this
 5    lawsuit, once he conducts a site inspection. However, please be on notice that
 6    the plaintiff seeks to have all barriers related to his disability remedied. See
 7    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 8    encounters one barrier at a site, he can sue to have all barriers that relate to his
 9    disability removed regardless of whether he personally encountered them).
10
11    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
12    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
13    Defendants.) (42 U.S.C. section 12101, et seq.)
14      20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
15    again herein, the allegations contained in all prior paragraphs of this
16    complaint.
17      21. Under the ADA, it is an act of discrimination to fail to ensure that the
18    privileges, advantages, accommodations, facilities, goods and services of any
19    place of public accommodation is offered on a full and equal basis by anyone
20    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
21    § 12182(a). Discrimination is defined, inter alia, as follows:
22              a. A failure to make reasonable modifications in policies, practices,
23                 or procedures, when such modifications are necessary to afford
24                 goods,     services,     facilities,   privileges,    advantages,      or
25                 accommodations to individuals with disabilities, unless the
26                 accommodation would work a fundamental alteration of those
27                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28              b. A failure to remove architectural barriers where such removal is


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 1                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                 defined by reference to the ADA Standards.
 3             c. A failure to make alterations in such a manner that, to the
 4                 maximum extent feasible, the altered portions of the facility are
 5                 readily accessible to and usable by individuals with disabilities,
 6                 including individuals who use wheelchairs or to ensure that, to the
 7                 maximum extent feasible, the path of travel to the altered area and
 8                 the bathrooms, telephones, and drinking fountains serving the
 9                 altered area, are readily accessible to and usable by individuals
10                 with disabilities. 42 U.S.C. § 12183(a)(2).
11      22. When a business provides facilities such as a service counter, it must
12    provide an accessible service counter.
13      23. Here, accessible service counters have not been provided.
14      24. The Safe Harbor provisions of the 2010 Standards are not applicable
15    here because the conditions challenged in this lawsuit do not comply with the
16    1991 Standards.
17      25. A public accommodation must maintain in operable working condition
18    those features of its facilities and equipment that are required to be readily
19    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20      26. Here, the failure to ensure that the accessible facilities were available
21    and ready to be used by the plaintiff is a violation of the law.
22
23    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
24    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
25    Code § 51-53.)
26      27. Plaintiff repleads and incorporates by reference, as if fully set forth
27    again herein, the allegations contained in all prior paragraphs of this
28    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,


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 1    that persons with disabilities are entitled to full and equal accommodations,
 2    advantages, facilities, privileges, or services in all business establishment of
 3    every kind whatsoever within the jurisdiction of the State of California. Cal.
 4    Civ. Code §51(b).
 5       28. The Unruh Act provides that a violation of the ADA is a violation of the
 6    Unruh Act. Cal. Civ. Code, § 51(f).
 7       29. Defendants’ acts and omissions, as herein alleged, have violated the
 8    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 9    rights to full and equal use of the accommodations, advantages, facilities,
10    privileges, or services offered.
11       30. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
12    discomfort or embarrassment for the plaintiff, the defendants are also each
13    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
14    (c).)
15
16              PRAYER:
17              Wherefore, Plaintiff prays that this Court award damages and provide
18    relief as follows:
19            1. For injunctive relief, compelling Defendants to comply with the
20    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
21    plaintiff is not invoking section 55 of the California Civil Code and is not
22    seeking injunctive relief under the Disabled Persons Act at all.
23            2. Damages under the Unruh Civil Rights Act, which provides for actual
24    damages and a statutory minimum of $4,000 for each offense.
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 1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 2    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 3
      Dated: July 29, 2019            CENTER FOR DISABILITY ACCESS
 4
 5
                                      By:
 6
 7                                    ______________________________

 8                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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